                                                UNITED STATES BANKRUPTCY COURT FOR
                                                THE EASTERN DISTRICT OF PENNSYLVANIA

                        In re: Sarah Washco                           : Chapter 13

                                       Debtor                        : Bky No. 19-17850-AMC

                                                Motion for Post-Confirmation Plan Modification

                               1. On July 8, 2020 confirmed the debtor’s original plan.

                               2. The plan was modified by this court on 12/17/20 extending it to 84 months.

                               3. The plan was again modified on April 6, 2022 due to a family emergency.

                               4. Since that time, and due to inflationary pressures and new required expenses,

                        the debtor is unable to maintain her current level of payment without defaulting.

                               5. The debtor has filed Amended Schedules I and J with the court illustrating her

                        predicament on November 11, 2022. Those amended schedules are incorporated herein by

                        reference.

                               6. The debtor has filed, on the same day, a proposed modified plan with this court,

                        document #95.

                               7. The debtor’s budget shows that she will be able to complete the new modified

                        plan with the salary of her husband.

                               8. A copy of the proposed modified plan is attached hereto as Exhibit “A”.

                               WHEREFORE, the debtors request the court to approve the plan modification

                        attached.

                                                                     s/Lawrence S. Rubin, Esquire
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